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                                                U.S. Department of Justice
[Type text]
                                                      United States Attorney
                                                      Southern District of New York
                                                      The Jacob K. Javits Federal Building
                                                      26 Federal Plaza, 37th Floor
                                                      New York, New York 10278


                                                      June 11, 2024

The Honorable Ronnie Abrams
United States District Court
Southern District of New York
40 Foley Square
New York, New York 10007

       Re:     United States v. Anthony Curcio & Iosif Bondarchuk, 24 Cr. 312 (RA)

Dear Judge Abrams:

       Pursuant to Federal Rule of Criminal Procedure 16(d), the Government respectfully
requests, with the consent of all defendants, that the Court endorse the enclosed protective order
governing discovery in this case.


                                                   Respectfully submitted,

                                                   DAMIAN WILLIAMS
                                                   United States Attorney

                                             By:      /s/ David R. Felton
                                                    David R. Felton / Kingdar Prussien
                                                    Assistant United States Attorneys
                                                   (212) 637-2299 / -2223


Enclosure
